                     IN THE UNITED STATES BANKRUPTCY COURT
                 NORTHERN DISTRICT OF ALABAMA, NORTHERN DIVISION

   IN RE:                                        )
                                                 )
   RICK’S, INC.                                  ) CASE NO. 20-81043-CRJ-11
   EIN: XX-XXX9830                               ) CHAPTER 11, SUBCHAPTER V
                                                 )
       Debtor.                                   )

   NOTICE OF CONTINUATION OF TELEPHONIC 341 MEETING OF CREDITORS

        COMES NOW the debtor, Rick’s, Inc., and notifies all creditors and parties in interest that

 the telephonic 341 meeting of the creditors [Doc 13] currently set for May 19, 2020, at 2:00 p.m.

 is hereby continued to May 26, 2020, at 2:00 p.m.

 Dial-in information:
 Dial In: 1-888-363-4749
 Access Code: 2940997

 DO NOT COME TO THE COURTHOUSE. THIS MEETING WILL TAKE PLACE BY
 TELEPHONE ONLY.

                                                             /s/Stuart M. Maples
                                                             STUART M. MAPLES

 MAPLES LAW FIRM, PC
 200 Clinton Avenue West, Suite 1000
 Huntsville, Alabama 35801
 (256) 489-9779 – Telephone
 (256) 489-9720 – Facsimile
 smaples@mapleslawfirmpc.com




Case 20-81043-CRJ11        Doc 56    Filed 05/15/20 Entered 05/15/20 13:23:12            Desc Main
                                    Document     Page 1 of 5
                                  CERTIFICATE OF SERVICE


         I do hereby certify that on May 15, 2020, a copy of the foregoing document was served on
 the following by Electronic Case Filing or via United States Mail, postage prepaid and properly
 addressed.

 Richard Blythe
 P. O. Box 3045
 Decatur, AL 35602
 Bankruptcy Administrator

 Kevin Heard
 Subchapter V Trustee
 Heard, Ary & Dauro, LLC
 303 Williams Avenue SW
 Park Plaza Suite 921
 Huntsville, AL 35801

 20 Largest Unsecured Creditors

 All parties requesting notice via the Court’s ECF system

 All parties on the attached creditor matrix

         I do hereby certify that on May 15, 2020, a copy of the foregoing document was served on
 the following by Electronic Mail:

 Cathy Werner
 Chris Meadows
 Kathleen O’Connell
 CAN Capital, Inc.
 cwerner@cancapital.com
 CMeadows@cancapital.com
 KOConnell@cancapital.com


                                               /s/ Stuart M. Maples
                                               Stuart M. Maples




Case 20-81043-CRJ11         Doc 56    Filed 05/15/20 Entered 05/15/20 13:23:12         Desc Main
                                     Document     Page 2 of 5
Label Matrix for local noticing       Consolidated Electrical Distributors   Rick’s, Inc.
1126-8                                P. O. Box 936364                       17901 Highway 278
Case 20-81043-CRJ11                   Atlanta, GA 31193-6364                 Double Springs, AL 35553-3346
NORTHERN DISTRICT OF ALABAMA
Decatur
Fri May 15 11:03:46 CDT 2020
U. S. Bankruptcy Court                *Airgas                                *American Express
400 Well Street                       P.O. Box 734672                        PO Box 650448
P. O. Box 2775                        Dallas, TX 75373-4672                  Dallas, TX 75265-0448
Decatur, AL 35602-2775


*Bank of America                      *Buyers A                              *CanCapital
PO Box 851001                         9049 Tyler Road                        2015 Vaughn Rd. NW
Dallas, TX 75285-1001                 Mentor, OH 44060-1868                  Ste. 500
                                                                             Kennesaw, GA 30144-7831


*Captial Volvo Truck & Trailer        (p)JPMORGAN CHASE BANK N A             *Consolidated Electrical Dist.
P.O. Box 9427                         BANKRUPTCY MAIL INTAKE TEAM            P.O. Box 936364
Montgomery, AL 36108-0009             700 KANSAS LANE FLOOR 01               Atlanta, GA 31193-6364
                                      MONROE LA 71203-4774


*Dalton Bearing & Hydraulic, LLC      *ECCO                                  *Johnson & Hood
P.O. Box 393                          15302 Collections Center Drive         41075 Hwy 195
Blaine, TN 37709-0393                 Chicago, IL 60693-0153                 Haleyville, AL 35565-7039



*Jones Interstate Tire Co.            *Lakeland Community Hospital           *Precision Truck Products, Inc.
P.O. Box 2713                         P.O. Box 1619                          P.O. Box 1224
Columbus, MS 39704-2713               Morristown, TN 37816-1619              Salem, IL 62881-6224



*Sabel Steel Service                  *Sandra Wright, Revenue Commissioner   *Unistrut Alabama
P.O. Box 4747                         P.O. Box 160                           Strut Services Group
Montgomery, AL 36103-4747             Double Springs, AL 35553-0160          P.O. Box 5321
                                                                             Birmingham, AL 35207-0321


*Varisystems, Inc.                    *Velvac, Inc.                          *Veterans Oil, Inc.
5304 Hubalta Road SE                  Bin No. 53052                          2070 Highway 150
Calgary Alberta T2B 1T6 Canada        Milwaukee, WI 53288-0052               Bessemer, AL 35022-5454



AT&T Mobility                         Blue Tarp Financial                    Buyers Products Company
P.O. Box 6463                         P.O. Box 105525                        9049 Tyler Blvd
Carol Stream, IL 60197-6463           Atlanta, GA 30348-5525                 Mentor, OH 44060-4800



Cintas                                Columbus Paper & Chemical, Inc.        Cunningham Industrial Supply
P.O. Box 630910                       P.O. Box 8367                          P.O. Box 1333
Cincinnati, OH 45263-0910             Columbus, MS 39705-0033                Jasper, AL 35502-1333


             Case 20-81043-CRJ11   Doc 56    Filed 05/15/20 Entered 05/15/20 13:23:12        Desc Main
                                            Document     Page 3 of 5
D-Lux Screen Printing, Inc.            Dave’s Armature Service                Economy Cleaners
P.O. Box 127                           3898 Jackson                           100 East 19th Street
302 N. Star Road                       Memphis, TN 38128-6605                 Jasper, AL 35501-5412
Holmen, WI 54636-9760


Grainger                               Grimco                                 Gulf Finance
Dept. 864736244                        29538 Network Place                    P.O. Box 241567
Palatine, IL 60038-0001                Chicago, IL 60673-1295                 Montgomery, AL 36124-1567



Hyche Landfield                        Inline Electric Cullman                Internal Revenue Service
P.O. Box 126                           P.O. Box 7267                          Centralized Insolvency Operations
Addison, AL 35540-0126                 Huntsville, AL 35807-1267              PO Box 7346
                                                                              Philadelphia, PA 19101-7346


Internal Revenue Service               Jasper Industrial                      Joyce White Vance
P.O. Box 7346                          1404 10th Avenue West                  US Attorney General
Philadelphia, PA 19101-7346            Jasper, AL 35501-4511                  1801 4th Ave North
                                                                              Birmingham, AL 35203-2101


Loretta Lynch US Attorney General      Luther Strange                         McGriff Tire & Service
US Dept. of Justice                    Alabama Attorney General               86 Walnut St.
950 Pennsylvania Ave NW                PO Box 300152                          Cullman, AL 35055-5928
Washington, DC 20530-0009              Montgomery, AL 36130-0152


Multiprens USA, Inc.                   NHC Distributors                       Northwest Alabamian
20 Ohio Avenue                         212 Lewis Avenue                       P.O. Box 430
Kansas City, KS 66118-1129             Philadelphia, MS 39350-2844            Haleyville, AL 35565-0430



Oversize Warning Products, Inc.        Parts Distributing                     Quill Corporation
258 SE 20 Road                         P.O. Box 847139                        PO Box 37600
Great Bend, KS 67530-9664              Dallas, TX 75284-7139                  Philadelphia, PA 19101-0600



Redneck, Inc.                          Reelcraft Industries, Inc.             Ricky Stockton
1300 AL-20                             2842 E. Business Highway 30            5227 Lake Crest Circle
Tuscumbia, AL 35674                    Columbia City, IN 46725                Birmingham, AL 35226-5084



Sam;s Club                             Secretary of the Treasury              Service Tool Co., LLC
P.O. Box 530981                        1500 Pennsylvania Ave., NW             P.O. Box 12240
Atlanta, GA 30353-0981                 Washington, DC 20220-0001              New Iberia, LA 70562-2240



State Disbursmenn Unit                 State of Alabama                       Strut Services Group, Inc
P.O. Box 5400                          Department of Revenue Legal Division   Post Office Box 5321
Carol Stream, IL 60197-5400            PO Box 320001                          Birmingham, AL 35207-0321
                                       Montgomery, AL 36132-0001

             Case 20-81043-CRJ11    Doc 56    Filed 05/15/20 Entered 05/15/20 13:23:12        Desc Main
                                             Document     Page 4 of 5
Thompson Gas                                         Thomson Linear, LLC                                  Traders and Farmers Bank
285 Helicon Road                                     3606 Collections Ctr Drive                           c/o John Lowe, Lowe Mobley Lowe & LeDuke
Arley, AL 35541-2018                                 Chicago, IL 60693-0036                               PO Box 576
                                                                                                          Haleyville, AL 35565-0576


U.S. Securities and Exchange Commission              United States Attorney                               United States Bankruptcy Administrator
Regional Director, Branch of Reorganizat             Northern District of Alabama                         Northern District of Alabama
Atlanta Regional Office, Suite 900                   1801 Fourth Avenue North                             1800 Fifth Avenue North
950 East Paces Ferry Road                            Birmingham, AL 35203-2101                            Birmingham, AL 35203-2111
Atlanta, GA 30326-1180

Winston Co. Probate Judge                            Winston County Sanitation                            Kevin D. Heard (SBRA)
c/o Sheila Moore                                     P.O. Box 1119                                        Heard, Ary & Dauro, LLC
P.O. Box 27                                          Double Springs, AL 35553-1119                        303 Williams Avenue
Double Springs, AL 35553-0027                                                                             Suite 921
                                                                                                          Huntsville, AL 35801-6084

Richard M Blythe                                     Stuart M Maples
United States Bankruptcy Administrator               Maples Law Firm, PC
PO Box 3045                                          200 Clinton Avenue W.
Decatur, AL 35602-3045                               Suite 1000
                                                     Huntsville, AL 35801-4919



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


*Chase Card Services
P.O. Box 6294
Carol Stream, IL 60197-6294




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Consolidated Electrical Distributors              (u)Marcus Rutland                                    (u)RJ’s Automotive
P. O. Box 936364
Atlanta, GA 31193-6364



(u)Rowe Building Supply                              (d)Stuart M. Maples                                  End of Label Matrix
                                                     Maples Law Firm, PC                                  Mailable recipients   70
                                                     200 Clinton Ave. W                                   Bypassed recipients    5
                                                     Suite 1000                                           Total                 75
                                                     Huntsville, AL 35801-4919




             Case 20-81043-CRJ11               Doc 56     Filed 05/15/20 Entered 05/15/20 13:23:12                        Desc Main
                                                         Document     Page 5 of 5
